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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No.        CV 21-7406 MWF (GJSx)                                    Date: December 01, 2021
Title       Hannah Ann Sluss, et al. v. The Procter & Gamble Company, Inc., et al.


Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                   Rita Sanchez                                        Not Reported
                   Deputy Clerk                                  Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                 Not Present                                        Not Present

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

      A review of the docket in this action reflects that the Complaint was filed on
September 15, 2021. (Docket No. 1). Pursuant to Federal Rules of Civil
Procedure, Rule 4(m), the time to serve the Complaint will expire on December 14,
2021.

      The Court ORDERS Plaintiffs to show cause why this action should not be
dismissed for lack of prosecution. In response to this Order to Show Cause, the
Court will accept the following no later than DECEMBER 14, 2021.

         BY PLAINTIFFS: PROOFS OF SERVICE of Summons and Complaint
          on Defendants.

       Any request by Plaintiff for an extension of time beyond the time limit set
forth in Fed. R. Civ. P. Rule 4(m) will only be granted upon a showing of good
cause, including, but not limited to, the date service was tendered to a process
server and the date service was first attempted by the process server. Failure to
timely file a Proof of Service, or request an extension of time to do so, will result
in the dismissal of this action on December 15, 2021.

                  AND/OR




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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

Case No.        CV 21-7406 MWF (GJSx)                           Date: December 01, 2021
Title       Hannah Ann Sluss, et al. v. The Procter & Gamble Company, Inc., et al.

         BY DEFENDANTS: RESPONSES TO THE COMPLAINT
          (“Response”). The parties may also file an appropriate stipulation to
          extend the time within which Defendants must respond to the Complaint.

                  OR

         BY PLAINTIFFS: APPLICATIONS FOR CLERK TO ENTER
          DEFAULT.

      No oral argument on this matter will be heard unless otherwise ordered by
the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand
submitted upon the filing of the response to the Order to Show Cause. Failure to
respond to the Order to Show Cause by December 14, 2021 will result in the
dismissal of this action.

        IT IS SO ORDERED.

                                                                Initials of Preparer: RS/sjm




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